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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 JILL STEIN, et al.,                               :
                                                   :   CIVIL ACTION
                                                   :
                              Plaintiffs,
                                                   :
                       v.                          :   No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official capacity          :
 as Secretary of the Commonwealth, and             :
 JONATHAN MARKS, in his official capacity          :
 as Commissioner of the Bureau of                  :
 Commissions, Elections and Legislation,           :
                                                   :
                              Defendants.          :
                                                   :
                                                   :

  NOTICE OF DEFENDANTS’ JOINDER IN INTERVENORS’ MOTION IN LIMINE

       Please take notice that Defendants Kathy Boockvar, Secretary of the Commonwealth, and

Jonathan Marks, Deputy Secretary for Elections and Commissions, in their official capacities,

hereby join in Intervenors’ Motion in Limine to Preclude Testimony and Evidence Regarding the

Substance of and Controller’s Investigation and Report Concerning Philadelphia’s Selection of

the ExpressVote XL [ECF 152], which was filed on January 15, 2020




                                              HANGLEY ARONCHICK SEGAL PUDLIN &
                                              SCHILLER


                                              By: /s/ Robert A. Wiygul
                                                 Mark A. Aronchick
                                                 Robert A. Wiygul
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                                  Counsel for Defendants




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on January 15, 2020, I caused the foregoing Notice of Defendants’

Joinder in Intervenors’ Motion in Limine to be filed with the United States District Court for the

Eastern District of Pennsylvania via the Court’s CM/ECF system, which will provide electronic

notice to all counsel of record.



                                                     /s/ Robert A. Wiygul
                                                    Robert A. Wiygul
